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AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)

                            UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON

 UNITED STATES OF AMERICA
                                                          Case No. C11-0228JLR

                                                          ORDER ON MOTION FOR
 v.                                                       SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)

                                                          (COMPASSIONATE RELEASE)
 ABU KHALID ABDUL-LATIF

         Upon motion of the defendant for a reduction in sentence under 18 U.S.C.

§ 3582(c)(1)(A), and after considering the applicable factors provided in 18 U.S.C. § 3553(a) and

the applicable policy statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

      DENIED after complete review of the motion on the merits.

             FACTORS CONSIDERED (Optional)

         Mr. Abdul-Latif’s medical conditions and the treatment he is receiving at Federal

Correction Institute Big Spring (“FCI Big Spring”); Mr. Abdul-Latif’s age; the number of

COVID-19 cases at FCI Big Spring; the Bureau of Prisons’ efforts to prevent COVID-19

outbreaks at FCI Big Spring; Mr. Abdul-Latif receiving a positive test result for COVID-19 on

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September 10, 2020; Mr. Abdul-Latif’s proposed release plan; Mr. Abdul-Latif’s criminal and

disciplinary history; and the potential danger Mr. Abdul-Latif poses to the community.

IT IS SO ORDERED.

Dated: October 2, 2020




                                                            A
                                                            JAMES L. ROBART
                                                            United States District Judge




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